         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 1 of 19



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MARY LOU WALEN,                                §

        Plaintiff,                             §

v.                                             §               Civil Action No.: 15-1718(BAH)

THE UNITED STATES OF AMERICA,                  §
et al.
                                               §
        Defendants.


                      PLAINTIFF’S EXPERT WITNESS DISCLOSURES

        Pursuant to Rule 26(b)(4)(A) of the Federal Rules of Civil Procedure, Local Rules and

this Court’s Scheduling Order, Plaintiff Mary Lou Walen submits her Expert Witness

Disclosures.

        The following persons may provide expert opinions regarding the events and facts

alleged in the Complaint:

     1. Susan P. Lucas, #2978 (EMT-P)
        DC Fire and EMS
        1923 Vermont Avenue, N.W
        Washington, DC 20001

        Ms. Lucas is an emergency medicine technician at DC Fire and EMS in Washington,

D.C. Plaintiff anticipates calling Ms. Lucas to give testimony at the trial of this matter in the field

of emergency medicine and Plaintiff’s subsequent treatment. Through her education, training,

and professional experience, Ms. Lucas has expert knowledge in the field of emergency

medicine response. A copy of her curriculum vitae is available upon request.

        Ms. Lucas is expected to give testimony concerning treatment of the injuries that Plaintiff

sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012, which is the
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 2 of 19



subject matter of this litigation. Ms. Lucas shall testify to a reasonable degree of medical

probability as to the causal relation of the injuries and treatment to the incident, as well as to the

medical necessity of the treatment rendered by health care providers to Plaintiff. Ms. Lucas will

give testimony concerning the findings and opinions contained in any report that she may

produce. Ms. Lucas will also offer opinions concerning the conclusions and findings rendered by

Defendant’s experts in their reports, at their depositions, and at trial.

    The opinions and conclusions of Ms. Lucas are held to a reasonable degree of medical

probability and certainty with respect to her position as an emergency medical responder. The

opinions contained herein have been distilled by counsel, are not necessarily to the exact word

usage and sentence structure of the witness, and do not necessarily present the entirety of Ms.

Lucas’ opinions regarding Plaintiff. Reference has not necessarily been made been made to each

pertinent part of the medical and other records and literature. Nor is the full expanse of the

witness’ opinions and the factual bases therefore, necessarily contained in this designation. Ms.

Lucas’ opinions may be altered or modified based upon the receipt of additional information.

Plaintiff reserves the right to supplement this designation should Ms. Lucas develop any

additional opinions during the course of litigation.

    2. Vance L. Pitts, #1372 (EMT-B)
       DC Fire and EMS
       1923 Vermont Avenue, N.W
       Washington, DC 20001

        Mr. Pitts is an emergency medicine technician at DC Fire and EMS in Washington, D.C.

Plaintiff anticipates calling Mr. Pitts to give testimony at the trial of this matter in the field of

emergency medicine and Plaintiff’s subsequent treatment. Through his education, training, and

professional experience, Mr. Pitts has expert knowledge in the field of emergency medicine

response. A copy of his curriculum vitae is available upon request.
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 3 of 19



        Mr. Pitts is expected to give testimony concerning treatment of the injuries that Plaintiff

sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012, which is the

subject matter of this litigation. Mr. Pitts shall testify to a reasonable degree of medical

probability as to the causal relation of the injuries and treatment to the incident, as well as to the

medical necessity of the treatment rendered by health care providers to Plaintiff. Mr. Pitts will

give testimony concerning the findings and opinions contained in any report that he may

produce. Mr. Pitts will also offer opinions concerning the conclusions and findings rendered by

Defendant’s experts in their reports, at their depositions, and at trial.

    The opinions and conclusions of Mr. Pitts are held to a reasonable degree of medical

probability and certainty with respect to his position as an emergency medical responder. The

opinions contained herein have been distilled by counsel, are not necessarily to the exact word

usage and sentence structure of the witness, and do not necessarily present the entirety of Mr.

Pitts’ opinions regarding Plaintiff. Reference has not necessarily been made been made to each

pertinent part of the medical and other records and literature. Nor is the full expanse of the

witness’ opinions and the factual bases therefore, necessarily contained in this designation. Mr.

Pitts’ opinions may be altered or modified based upon the receipt of additional information.

Plaintiff reserves the right to supplement this designation should Mr. Pitts develop any additional

opinions during the course of litigation.

    3. Joseph Papariello, #1716 (EMT-P)
       DC Fire and EMS
       1923 Vermont Avenue, N.W
       Washington, DC 20001
       Mr. Papariello is an emergency medicine technician at DC Fire and EMS in Washington,

D.C. Plaintiff anticipates calling Mr. Papariello to give testimony at the trial of this matter in the

field of emergency medicine and Plaintiff’s subsequent treatment. Through his education,
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 4 of 19



training, and professional experience, Mr. Papariello has expert knowledge in the field of

emergency medicine response. A copy of his curriculum vitae is available upon request.

       Mr. Papariello is expected to give testimony concerning treatment of the injuries that

Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation. Mr. Papariello shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. Mr.

Papariello will give testimony concerning the findings and opinions contained in any report that

he may produce. Mr. Papariello will also offer opinions concerning the conclusions and findings

rendered by Defendant’s experts in their reports, at their depositions, and at trial.

   The opinions and conclusions of Mr. Papariello are held to a reasonable degree of medical

probability and certainty with respect to his position as an emergency medical responder. The

opinions contained herein have been distilled by counsel, are not necessarily to the exact word

usage and sentence structure of the witness, and do not necessarily present the entirety of Mr.

Papariello’s opinions regarding Plaintiff. Reference has not necessarily been made been made to

each pertinent part of the medical and other records and literature. Nor is the full expanse of the

witness’ opinions and the factual bases therefore, necessarily contained in this designation. Mr.

Papariello’s opinions may be altered or modified based upon the receipt of additional

information. Plaintiff reserves the right to supplement this designation should Mr. Papariello

develop any additional opinions during the course of litigation.

   4. Babak Sarani, M.D., FACS, FCCM
      GWU Hospital
      900 23rd Street, N.W.
      Washington, DC 20037
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 5 of 19



       Dr. Sarani is a trauma and acute care surgeon at George Washington University Hospital

in Washington, D.C. Plaintiff anticipates calling Dr. Sarani to give testimony at the trial of this

matter in the field of trauma surgery, emergency medicine, and Plaintiff’s subsequent treatment.

Through his education, training, and professional experience, Dr. Sarani has expert knowledge in

the field of emergency medicine and trauma surgery. A copy of his curriculum vitae is available

upon request.


       Dr. Sarani is expected to give testimony concerning treatment of the injuries that Plaintiff

sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012, which is the

subject matter of this litigation, and all of the treatment rendered to Plaintiff from the different

health care providers. Dr. Sarani shall testify to a reasonable degree of medical probability as to

the causal relation of the injuries and treatment to the incident, as well as to the medical necessity

of the treatment rendered by health care providers to Plaintiff. Dr. Sarani will further testify as to

the fairness, reasonableness, necessity, and causal relation of the medical bills incurred as a

result of treatment rendered to the Plaintiff.

       Dr. Sarani will give testimony concerning the findings and opinions contained in any

report that he may produce. Dr. Sarani will also give testimony concerning the findings and

opinions contained in the reports of other healthcare providers, who rendered care to the Plaintiff

as a result of the incident. Dr. Sarani will also offer opinions concerning the conclusions and

findings rendered by Defendant’s experts in their reports, at their depositions, and at trial.

       The opinions and conclusions of Dr. Sarani are held to a reasonable degree of medical

probability and certainty. The opinions contained herein have been distilled by counsel, are not

necessarily to the exact word usage and sentence structure of the witness, and do not necessarily

present the entirety of Dr. Sarani’s opinions regarding Plaintiff. Reference has not necessarily
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 6 of 19



been made been made to each pertinent part of the medical and other records and literature. Nor

is the full expanse of the witness’ opinions and the factual bases therefore, necessarily contained

in this designation. Dr. Sarani’s opinions may be altered or modified based upon the receipt of

additional information. Plaintiff reserves the right to supplement this designation should Dr.

Sarani develop any additional opinions during the course of litigation.

    5. Rajeev Pandarinath, M.D.
       GWU Hospital
       900 23rd Street, N.W.
       Washington, DC 20037

        Dr. Pandarinath is an orthopedic surgeon at George Washington University Hospital in

Washington, D.C. Plaintiff anticipates calling Dr. Pandarinath to give testimony at the trial of

this matter in the field of orthopedic surgery and Plaintiff’s subsequent treatment. Through his

education, training, and professional experience, Dr. Pandarinath has expert knowledge in the

field of emergency medicine and orthopedic surgery. A copy of his curriculum vitae is available

upon request.


        Dr. Pandarinath is expected to give testimony concerning treatment of the injuries that

Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from

the different health care providers. Dr. Pandarinath shall testify to a reasonable degree of medical

probability as to the causal relation of the injuries and treatment to the incident, as well as to the

medical necessity of the treatment rendered by health care providers to Plaintiff. Dr. Pandarinath

will further testify as to the fairness, reasonableness, necessity, and causal relation of the medical

bills incurred as a result of treatment rendered to the Plaintiff.

        Dr. Pandarinath will give testimony concerning the findings and opinions contained in

any report that he may produce. Dr. Pandarinath will also give testimony concerning the findings
          Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 7 of 19



and opinions contained in the reports of other healthcare providers, who rendered care to the

Plaintiff as a result of the incident. Dr. Pandarinath will also offer opinions concerning the

conclusions and findings rendered by Defendant’s experts in their reports, at their depositions,

and at trial.

        The opinions and conclusions of Dr. Pandarinath are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not

necessarily present the entirety of Dr. Pandarinath’s opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expanse of the witness’ opinions and the factual bases therefore,

necessarily contained in this designation. Dr. Pandarinath’s opinions may be altered or modified

based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should Dr. Pandarinath develop any additional opinions during the course of

litigation.

    6. Edward F. Dunne, Jr., M.D., FACS
       Foxhall Urology
       3301 New Mexico Ave, NW, Suite 311
       Washington, D.C. 20016

        Dr. Dunne is a urologist at Foxhall Urology in Washington, D.C. Plaintiff anticipates

calling Dr. Dunne to give testimony at the trial of this matter in the field of urology and

Plaintiff’s subsequent treatment. Through his education, training, and professional experience,

Dr. Dunne has expert knowledge in the field of emergency medicine and urology. A copy of his

curriculum vitae is available upon request.


        Dr. Dunne is expected to give testimony concerning treatment of the injuries that Plaintiff

sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012, which is the
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 8 of 19



subject matter of this litigation, and all of the treatment rendered to Plaintiff from the different

health care providers. Dr. Dunne shall testify to a reasonable degree of medical probability as to

the causal relation of the injuries and treatment to the incident, as well as to the medical necessity

of the treatment rendered by health care providers to Plaintiff. Dr. Dunne will further testify as to

the fairness, reasonableness, necessity, and causal relation of the medical bills incurred as a

result of treatment rendered to the Plaintiff.

       Dr. Dunne will give testimony concerning the findings and opinions contained in any

report that he may produce. Dr. Dunne will also give testimony concerning the findings and

opinions contained in the reports of other healthcare providers, who rendered care to the Plaintiff

as a result of the incident. Dr. Dunne will also offer opinions concerning the conclusions and

findings rendered by Defendant’s experts in their reports, at their depositions, and at trial.

       The opinions and conclusions of Dr. Dunne are held to a reasonable degree of medical

probability and certainty. The opinions contained herein have been distilled by counsel, are not

necessarily to the exact word usage and sentence structure of the witness, and do not necessarily

present the entirety of Dr. Dunne’s opinions regarding Plaintiff. Reference has not necessarily

been made been made to each pertinent part of the medical and other records and literature. Nor

is the full expanse of the witness’ opinions and the factual bases therefore, necessarily contained

in this designation. Dr. Dunne’s opinions may be altered or modified based upon the receipt of

additional information. Plaintiff reserves the right to supplement this designation should Dr.

Dunne develop any additional opinions during the course of litigation.

   7. GWU Medical
      2021 K Street, N.W., #600
      Washington, DC 20006
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 9 of 19



        Plaintiff’s consulting and attending physicians (“these physicians”), contributed to

Plaintiff’s medical care before, during, and after Plaintiff’s orthopedic surgery, and Plaintiff

anticipates calling these physicians to give testimony at the trial of this matter in the field of the

respective physician’s expertise. Through their education, training, and professional experience,

these physicians have expert knowledge in the field of their respective expertise. A copy of their

respective curriculum vitae is available upon request.

        These physicians are expected to give testimony concerning their treatment of the injuries

that Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from

the different health care providers. These physicians shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. These

physicians will further testify as to the fairness, reasonableness, necessity, and causal relation of

the medical bills incurred as a result of treatment rendered to the Plaintiff for the incident.

        These physicians will give testimony concerning the findings and opinions contained in

any report that they may produce. These physicians will also give testimony concerning the

findings and opinions contained in the reports of other healthcare providers, who rendered care

to the Plaintiff as a result of the incident. These physicians will also offer opinions concerning

the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of these physicians are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 10 of 19



necessarily present the entirety of these physicians’ opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expense of the witnesses’ opinions and the factual bases therefore,

necessarily contained in this designation. These physicians’ opinions may be altered or modified

based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should these physicians develop any additional opinions during the course of

litigation.

    8. GH Bellevue Medical Center
       11511 NE 10th Street
       Bellevue, WA 98004

        Plaintiff’s consulting and attending physicians (“these physicians”), contributed to

Plaintiff’s medical care before, during, and after Plaintiff’s orthopedic surgery, and Plaintiff

anticipates calling these physicians to give testimony at the trial of this matter in the field of the

respective physician’s expertise. Through their education, training, and professional experience,

these physicians have expert knowledge in the field of their respective expertise. A copy of their

respective curriculum vitae is available upon request.

        These physicians are expected to give testimony concerning their treatment of the injuries

that Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from

the different health care providers. These physicians shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. These

physicians will further testify as to the fairness, reasonableness, necessity, and causal relation of

the medical bills incurred as a result of treatment rendered to the Plaintiff for the incident.
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 11 of 19



        These physicians will give testimony concerning the findings and opinions contained in

any report that they may produce. These physicians will also give testimony concerning the

findings and opinions contained in the reports of other healthcare providers, who rendered care

to the Plaintiff as a result of the incident. These physicians will also offer opinions concerning

the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of these physicians are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not

necessarily present the entirety of these physicians’ opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expense of the witnesses’ opinions and the factual bases therefore,

necessarily contained in this designation. These physicians’ opinions may be altered or modified

based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should these physicians develop any additional opinions during the course of

litigation.

    9. Kaiser Permanente
       700 2nd Street, N.W.
       Washington, DC 20002

        Plaintiff’s consulting and attending physicians (“these physicians”), contributed to

Plaintiff’s medical care before, during, and after Plaintiff’s orthopedic surgery, and Plaintiff

anticipates calling these physicians to give testimony at the trial of this matter in the field of the

respective physician’s expertise. Through their education, training, and professional experience,
        Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 12 of 19



these physicians have expert knowledge in the field of their respective expertise. A copy of their

respective curriculum vitae is available upon request.

        These physicians are expected to give testimony concerning their treatment of the injuries

that Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from

the different health care providers. These physicians shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. These

physicians will further testify as to the fairness, reasonableness, necessity, and causal relation of

the medical bills incurred as a result of treatment rendered to the Plaintiff for the incident.

        These physicians will give testimony concerning the findings and opinions contained in

any report that they may produce. These physicians will also give testimony concerning the

findings and opinions contained in the reports of other healthcare providers, who rendered care

to the Plaintiff as a result of the incident. These physicians will also offer opinions concerning

the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of these physicians are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not

necessarily present the entirety of these physicians’ opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expense of the witnesses’ opinions and the factual bases therefore,

necessarily contained in this designation. These physicians’ opinions may be altered or modified
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 13 of 19



based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should these physicians develop any additional opinions during the course of

litigation.

    10. ProOrtho Cabrini Medical Tower
        100 116th Avenue, S.E.
        Bellevue, WA 98004

        Plaintiff’s consulting and attending physicians (“these physicians”), contributed to

Plaintiff’s medical care before, during, and after Plaintiff’s orthopedic surgery, and Plaintiff

anticipates calling these physicians to give testimony at the trial of this matter in the field of the

respective physician’s expertise. Through their education, training, and professional experience,

these physicians have expert knowledge in the field of their respective expertise. A copy of their

respective curriculum vitae is available upon request.

        These physicians are expected to give testimony concerning their treatment of the injuries

that Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from

the different health care providers. These physicians shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. These

physicians will further testify as to the fairness, reasonableness, necessity, and causal relation of

the medical bills incurred as a result of treatment rendered to the Plaintiff for the incident.

        These physicians will give testimony concerning the findings and opinions contained in

any report that they may produce. These physicians will also give testimony concerning the

findings and opinions contained in the reports of other healthcare providers, who rendered care

to the Plaintiff as a result of the incident. These physicians will also offer opinions concerning
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 14 of 19



the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of these physicians are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not

necessarily present the entirety of these physicians’ opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expense of the witnesses’ opinions and the factual bases therefore,

necessarily contained in this designation. These physicians’ opinions may be altered or modified

based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should these physicians develop any additional opinions during the course of

litigation.

    11. Immediate Clinic
        13131 NE 85th Street
        Kirkland, WA 98033

        Plaintiff’s consulting and attending physicians (“these physicians”), contributed to

Plaintiff’s medical care before, during, and after Plaintiff’s orthopedic surgery, and Plaintiff

anticipates calling these physicians to give testimony at the trial of this matter in the field of the

respective physician’s expertise. Through their education, training, and professional experience,

these physicians have expert knowledge in the field of their respective expertise. A copy of their

respective curriculum vitae is available upon request.

        These physicians are expected to give testimony concerning their treatment of the injuries

that Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 15 of 19



the different health care providers. These physicians shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. These

physicians will further testify as to the fairness, reasonableness, necessity, and causal relation of

the medical bills incurred as a result of treatment rendered to the Plaintiff for the incident.

        These physicians will give testimony concerning the findings and opinions contained in

any report that they may produce. These physicians will also give testimony concerning the

findings and opinions contained in the reports of other healthcare providers, who rendered care

to the Plaintiff as a result of the incident. These physicians will also offer opinions concerning

the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of these physicians are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not

necessarily present the entirety of these physicians’ opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expense of the witnesses’ opinions and the factual bases therefore,

necessarily contained in this designation. These physicians’ opinions may be altered or modified

based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should these physicians develop any additional opinions during the course of

litigation.

    12. Evergreen Orthopedic Center
        12911 120th Avenue, N.E.
        Suite H210
        Kirkland, WA 98034
        Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 16 of 19




        Plaintiff’s consulting and attending physicians (“these physicians”), contributed to

Plaintiff’s medical care before, during, and after Plaintiff’s orthopedic surgery, and Plaintiff

anticipates calling these physicians to give testimony at the trial of this matter in the field of the

respective physician’s expertise. Through their education, training, and professional experience,

these physicians have expert knowledge in the field of their respective expertise. A copy of their

respective curriculum vitae is available upon request.

        These physicians are expected to give testimony concerning their treatment of the injuries

that Plaintiff sustained as a result of a tree limb striking Plaintiff occurring on October 29, 2012,

which is the subject matter of this litigation, and all of the treatment rendered to Plaintiff from

the different health care providers. These physicians shall testify to a reasonable degree of

medical probability as to the causal relation of the injuries and treatment to the incident, as well

as to the medical necessity of the treatment rendered by health care providers to Plaintiff. These

physicians will further testify as to the fairness, reasonableness, necessity, and causal relation of

the medical bills incurred as a result of treatment rendered to the Plaintiff for the incident.

        These physicians will give testimony concerning the findings and opinions contained in

any report that they may produce. These physicians will also give testimony concerning the

findings and opinions contained in the reports of other healthcare providers, who rendered care

to the Plaintiff as a result of the incident. These physicians will also offer opinions concerning

the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of these physicians are held to a reasonable degree of

medical probability and certainty. The opinions contained herein have been distilled by counsel,

are not necessarily to the exact word usage and sentence structure of the witness, and do not
         Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 17 of 19



necessarily present the entirety of these physicians’ opinions regarding Plaintiff. Reference has

not necessarily been made been made to each pertinent part of the medical and other records and

literature. Nor is the full expense of the witnesses’ opinions and the factual bases therefore,

necessarily contained in this designation. These physicians’ opinions may be altered or modified

based upon the receipt of additional information. Plaintiff reserves the right to supplement this

designation should these physicians develop any additional opinions during the course of

litigation.




    13. Lew Bloch
        10916 Bells Ridge Drive
        Potomac, MD 20854


        Mr. Bloch is a consulting arborist and landscape architect at Bloch Consulting Group in

Potomac, Maryland. Plaintiff anticipates calling Mr. Bloch to give testimony at the trial of this

matter in the field of arboriculture, obligations for arbor inspection and maintenance, and the

scientific process for identifying and removing a dead tree. Through his education, training, and

professional experience, Mr. Bloch has expert knowledge in the field of arboriculture. A copy of

his curriculum vitae is available upon request.


        Mr. Bloch is expected to give testimony concerning the arbor decay that proceeded the

tree limb striking Plaintiff on October 29, 2012, which is the subject matter of this litigation. Mr.

Bloch shall testify to a reasonable degree of scientific probability as to the causal relation of

Plaintiff’s injuries and the decay of the tree that caused Plaintiff’s injuries. Mr. Bloch will further

testify as to the proper arbor maintenance that would prevent a dead tree’s limb from suddenly
        Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 18 of 19



falling to the ground. Mr. Bloch will testify to the National Park Service’s duty to inspect

regularly for dead trees or limbs, asses risk of the respective target area to which dead trees or

limbs could fall, and take timely action to remove dead or dying trees or limbs before the trees or

limbs impact their respective target area. Mr. Bloch will give testimony concerning the findings

and opinions contained in any report that he may produce. Mr. Bloch will also offer opinions

concerning the conclusions and findings rendered by Defendant’s experts in their reports, at their

depositions, and at trial.

        The opinions and conclusions of Mr. Bloch are held to a reasonable degree of scientific

probability and certainty. The opinions contained herein have been distilled by counsel, are not

necessarily to the exact word usage and sentence structure of the witness, and do not necessarily

present the entirety of Mr. Bloch’s opinions regarding the tree. Reference has not necessarily

been made been made to each pertinent part of the medical and other records and literature. Nor

is the full expanse of the witness’ opinions and the factual bases therefore, necessarily contained

in this designation. Mr. Bloch’s opinions may be altered or modified based upon the receipt of

additional information. Plaintiff reserves the right to supplement this designation should Mr.

Bloch develop any additional opinions or reports during the course of litigation.

        Plaintiff reserves the right to supplement the Expert Witness Disclosures as discovery is

on-going.




                                                     Respectfully Submitted,

                                                     PRICE BENOWITZ, LLP


                                             By:     /s/ John J. Yannone
                                                     John J. Yannone, Esq.
        Case 1:15-cv-01718-BAH Document 27 Filed 07/05/17 Page 19 of 19



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                                                     John@PriceBenowitzlaw.com
                                                     Price Benowitz, LLP
                                                     409 7th Street, NW, Suite #200
                                                     Washington, D.C. 20004
                                                     Phone: (202) 417-6015
                                                     Fax: (301) 244-6659
                                                     Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

       I do hereby certify that on this 5th day of July, 2017, a copy of the foregoing Plaintiff’s

Expert Witness Disclosures was served by electronic mail on counsel of record.


                                                             /s/ John J. Yannone
                                                             John J. Yannone, Esq.
